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Sean Larson, Wyo. Bar #7-5112
HATHAWAY & KUNZ, LLP
P. O. Box 1208
Cheyenne, WY 82003-1208
307-634-7723
307-634-0985 (Fax)
slarson@hkwyolaw.com

Paula K. Colbath, Esq. (Pro Hac Vice Forthcoming)
Sarah Levitan Perry, Esq. (Pro Hac Vice Forthcoming)
LOEB & LOEB LLC
345 Park Avenue
New York, NY 10154
Telephone: 212-407-4905

ATTORNEYS FOR DEFENDANTS

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING

                                                       )
BCB CHEYENNE LLC d/b/a BISON                           )
BLOCKCHAIN, a Wyoming limited liability                )
company,                                               )
                                                       )
                         Plaintiff,                    ) Civil Action No. 23CV-79-SWS
                                                       )
v.                                                     )
                                                       )
MINEONE WYOMING DATA CENTER                            )
LLC, a Delaware limited liability company;             )
MINEONE PARTNERS LLC, a Delaware                       )
limited liability company; TERRA CRYPTO                )
INC., a Delaware corporation; BIT ORGIN,               )
LTD, a Cayman Island Company;                          )
SONICHASH LLC, a Delaware limited                      )
liability company; and JOHN DOES 1-20,                 )
related persons and companies who control or           )
direct some or all of the named Defendants.            )
                                                       )
                         Defendants.                   )
                                                       )


                   DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT
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       COME NOW Defendants MINEONE WYOMING DATA CENTER LLC, MINEONE

PARTNERS LLC, TERRA CRYPTO INC., BIT ORIGIN LTD., SONICHASH LLC (collectively,

the “Defendants”), by their attorneys Hathaway & Kunz, LLP, and Loeb & Loeb LLP, and hereby

submits its corporate disclosure statement pursuant to FED. R. CIV. P. 7.1.

       Defendants MineOne Wyoming Data Center LLC, MineOne Partners LLC, and SonicHash

LLC are limited liability companies organized in Delaware. These companies have members

domiciled in Delaware, Texas, Cayman Islands, China, Singapore, and the British Virgin Islands.

       Defendant Terra Crypto, Inc. is a corporation incorporated in Delaware with its principal

place of business in New York. Terra Global Asset Management Holdings Inc. holds 10% or more

of Terra Crypto, Inc.

       Defendant Bit Origin Ltd is a publicly traded corporation incorporated in the Cayman

Islands with its principal place of business in New York. No parent corporation or publicly held

corporation holds 10% or more of Bit Origin Ltd.

       DATED this 17th day of July, 2023.

                                                   HATHAWAY & KUNZ, LLP



                                            By: /s/ Sean M. Larson
                                                Sean Larson, Esq.
                                                HATHAWAY & KUNZ, LLP
                                                2515 Warren Ave
                                                Cheyenne, WY 82003
                                                Telephone: (307) 634-7723
                                                Fax: (307) 634-0985
                                                slarson@hkwyolaw.com




                          DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT
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                                                  LOEB & LOEB LLC
                                                  Paula K. Colbath, Esq. (Pro Hac Vice Pending)
                                                  Sarah Levitan Perry, Esq. (Pro Hac Vice
                                                  Pending)
                                                  345 Park Avenue
                                                  New York, NY 10154
                                                  Telephone: 212-407-4905

                                                  ATTORNEYS FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

   This is to certify that on the 17th day of July, 2023, the undersigned served a true and correct
copy of the foregoing as follows:

         Patrick J. Murphy                                   [ ] CM/ECF
         Scott C. Murray                                     [ ] U.S. Mail
         Williams, Porter, Day & Neville, P.C.               [ ] Fax:
         159 N. Wolcott., Suite 400                          [ ] E-mail:
         Casper, WY 82601




                                                     /s/ Sean M. Larson
                                                     HATHAWAY & KUNZ, LLP




                           DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT
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